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Defendant Jarvis’? Reply Motion to Dismiss
Exhibit C

Excerpis of Sealed Discovery cited in Brief
_ Case 1:08-cr-01849-JCH Document 1114-4 Filed 11/08/07__ Page 2 0f §

: FD-SB2 Rev. 16-95} :

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FEDERAL BUREAU OF INVESTIGATION

Date of mansorintion 01/19/2006

_ SOURCE, who is in a. position toa testify, provided the
following information. mo

DANA JARVIS found someone inaide the Regional
' Correctional Center in Albuquerque, New Mexico, ‘who wiil sell: him ©

heroin in jail and JARVIA has been using heroin for approximately
{1) week, JARVIS' attorney, CLIFF MCINTYRE, is not working for
JARVIS anymore. JARVIA has a new attorney, BOB GORENCE, and JARVIS
will be meeting with GORENCK in several daya- JARVIS is. not sure
if GORENCE will send mail out for JARVIS the way that MCINTYRE did
to avoid letters going through the jail's mail.

one

Divestigation on’ «= OL/ 17/2006 a. Rlbugueraue, NM {telephonically}

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_Case 1:05-cr-01849-JCH Document 1111-4 Filed 11/08/07 Page 3o0f5

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FEDERAL BUREAU OF INVESTIGATION

Dew of tenseriptlon $= 01/25/2006

SOURCE, whe ia in a position to testify, Provided the
following information; ~ .

SOURCE left a voicemail stating that DANA JARVIS was —
going to write a letter with instructions to "Abbott Jon" to meet,
with a hit-cman, clive the hit-man $5,000.00 in up-frent money and
give the hit-man personal information on DONALD TRUGTLLO, “JARVIS
planned on giving the letter to nis attorney, #OB GORENCE, the next
day at a hearing in court and asking GORENCE to place the lettex inv

the mail.

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D1/1B/2006 as Albuquerque, NM |‘ {telephonically}
_ Date iicated O17 25/2006

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mie § 27OB-AQ-59755 SUB-A; 89E-AQ-59598

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~ Tnyastlgation on O1/15/2006 Rt

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FEDERAL BUREAU OF INVESTIGATION

Dute of trisotiption 01/25/2006

SOURCE, who is in a position ta testify, provided the
following infoxmatien:

DANA JARVIS was up all night in his cell tesearching ror
hia court hearing that took place the morning of January 19, 2006.

. SOURCE did not see JARVIS ever write a letter to "Abbott. Jon".
instructing "Abbott Jon" to meet with a hit-man. JARYIS did show
SOURCE what appeared to be a Federal statute. JARVIS said "here is
something ahout the Abbott.". Since the case against JARVIS is a -
complex case JARVIS said "when they can’t find this asshole they
can delay my trial." SOURCE. understood that JARVIS was talking
about atter DONALD TRUGILLO is killed JARVIS ' triad could be

delayed.

_. JARVIS returned from court a short time age andl said that
the Judge will not allow BOB GORENCE to represent hin.

Albuquerque, NM So (telephonically)
_ Date: dictated 1/25/2006

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by - BB I A. Bierson 7. oe : .
iv ohn. ers _ Jarvis - «8.167.

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FEDERAL BUREAU OF INVESTIGATION

_ Dota of tomsoription 01/25/2006

-On January 19, 2066, at approximately 9:45 a.m., Special
Agent (SA) John A. Plerson met with Deputy United States Marshall
Jayier Ribas at the United States Courthouse, Albyquergue, New
Mexico. Ribas confizmed thet DANA JARVIS was in a holding cell, and
was scheduled to hayeé a hearing that day. Attoxney BOB. GORENCE was
alsa scheduled ta be present for the hearing.:

JARVIS had a atack of documents with him ‘that he was
going to bring inte the courtroom. Ribas advised SA Plerson that
he checked the documents for contraband prior to antering the
courtroom,.. While-checking the documents for contraband, Ribas ~
abserved no anvelopes, nor did Ribas observe and documents with the

“name JON MARR or "Abhott Jon” on them. Ribas did see one.

handwritten document titled "target numbers” with numerous .

* telephone numbera listed mee Ribas ‘did not “photocopy Or seize

any of JARVIS' dacumentas.

Ribas advised BA Pierson that 1f£ JARVIS Wag observed
passing any items to GORENCH in “eourt that day that 5A Plerson

would be notified.

‘fovestigation en  O1/19/2006 st Albuquerdue,; NM

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by

Date dictated. O1/25/2006

‘BA John A. Pierson’ a a. : —-- Jarvis 8.168

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